               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                 1:07CR32


UNITED STATES OF AMERICA                       )
                                               )
Vs.                                            )            ORDER
                                               )
RODNEY LAMONT ALLEN.                           )
______________________________________         )


      THIS CAUSE came on to be heard and was heard before the undersigned,

pursuant to a letter from the defendant to United States District Judge Lacy

Thornburg that was received by Judge Thornburg on December 17, 2007 and further,

a letter sent by the defendant to Judge Thornburg received on September 5, 2007. In

the two letters the defendant request that substitute counsel be substituted for his

present attorney in this matter. Judge Thornburg has now referred the matter on to

the undersigned for hearing. Upon the call of the matter it appeared that the

defendant was present, that his attorney Janna D. Allison was present and that the

Government was represented by Assistant United States Attorney, Corey Ellis. From

the statements of the defendant the court finds that the defendant has now discussed

his case with Ms. Allison and that he is satisfied with Ms. Allison’s representation of

him in this matter.   The defendant stated he wishes to withdraw his request for

substitution of counsel.     It appearing to the undersigned, after inquiry of the

defendant, that it is his desire to withdraw the letters and the request.


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                                    ORDER

      IT IS, THEREFORE, ORDERED that the letters of the defendant received

on September 5, 2007 and December 17, 2007 and considered by the court as motions

for the substitution of counsel are withdrawn by the defendant and are hereby

DENIED and DISMISSED.




                                       Signed: January 10, 2008




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